Case 1:17-mc-00151-LPS Document 381 Filed 10/19/21 Page 1 of 4 PageID #: 10214




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


 CRYSTALLEX INTERNATIONAL CORP.,           )
                                           )
  Plaintiff,                               )
                                           )
         v.                                ) Misc. No. 17-151-LPS
                                           )
 BOLIVARIAN REPUBLIC OF VENEZUELA,         ) PUBLIC VERSION
                                           )
  Defendant.                               )
                                           )
 _______________________________________   )


                  SPECIAL MASTER’S MONTHLY REPORT
                FOR THE PERIOD ENDED SEPTEMBER 30, 2021




                                                       Dated: October 12, 2021
                                                       Public version dated: October 19, 2021
Case 1:17-mc-00151-LPS Document 381 Filed 10/19/21 Page 2 of 4 PageID #: 10215

                             ROBERT B. PINCUS in his capacity as
         Special Master for the United States District Court for the District of Delaware
                                   108 Rockford Gove Lane
                                    Wilmington, DE 19806

                                                                                  October 12, 2021
PUBLIC VERSION
October 19, 2021

BY HAND DELIVERY & CM/ECF

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3570

Re: Crystallex International Corp. v. Bolivarian Republic of Venezuela, D. Del. C.A. No. 1:17-
mc-00151-LPS; Special Master’s Monthly Report for the Period Ended September 30, 2021
(this “Report”)

Dear Judge Stark:

        By order dated April 13, 2021 [D.I. 258], Your Honor appointed me as Special Master in
this case to design, oversee, and implement the sale of Petroleos de Venezuela, S.A.’s shares of
PDV Holding Inc. On May 27, 2021, Your Honor issued the Order Regarding Special Master
[D.I. 277] (the “May 27 Order”)1 setting forth, among other things, various obligations and duties
applicable to the Special Master, the Parties, and ConocoPhillips (together with the Parties,
the “Sale Process Parties”), including my obligation to provide the Court with a monthly report
concerning my progress and efforts. The last report that I submitted to the Court was for the period
ended August 31, 2021 [D.I. 353] (the “August Report”). I hereby write to provide this Report
for the period since the August Report through September 30, 2021.

Summary of Events Taking Place this Period

       During this period, I have undertaken the following actions, with the assistance of my
advisors (collectively, the “Advisors”), in accordance with my duties and obligations set forth in
the May 27 Order:

              Continued numerous work streams to address questions and issues related to the
               Proposed Sale Procedures Order, which was filed with the Court on August 9, 2021
               [D.I. 302], including questions and issues related to the report and recommendation
               (the “Report”) filed contemporaneously therewith [D.I. 303].



1
  All capitalized terms used but not otherwise defined herein, have the meanings ascribed to such
terms in the May 27 Order.
Case 1:17-mc-00151-LPS Document 381 Filed 10/19/21 Page 3 of 4 PageID #: 10216

The Honorable Leonard P. Stark
October 12, 2021      Public version dated: October 19, 2021
Page 2 of 3

                 o Prepared and filed a letter with the Court amending paragraph 53 of the
                   Report [D.I. 373].

             Reviewed and analyzed objections filed by the Sale Process Parties to the Proposed
              Sale Procedures Order and prepared and filed a Response to Objections
              (the “Response to Objections”) in response to same [D.I. 341].

                 o The Response to Objections included a revised Proposed Sale Procedures
                   Order with proposed revisions designed to resolve objections filed by the
                   Sale Process Parties.

             Leading up to the filing of the Response to Objections, continued to attempt to
              narrow the areas of dispute relating to the Proposed Sale Procedures Order,
              including, but not limited to, the terms pursuant to which Evercore Group L.L.C.
              would serve as my financial advisor in connection with the implementation of the
              Proposed Sale Procedures Order should Your Honor enter the order and approve
              the engagement.

             Reviewed and analyzed the letter Crystallex received from the Department of the
              Treasury’s Office of Foreign Assets Control (“OFAC”), dated September 10, 2021,
              as well as the related letters filed with the Court by Crystallex and the Venezuela
              Parties regarding the implications thereof [D.I. 346 and 352].

             Met with representatives from the United States, including representatives from the
              Department of Justice, the Department of State, and the Department of the
              Treasury, including OFAC, to discuss, among other things, the timeline and
              mechanics for implementing the Proposed Sale Procedures Order.

             Met and conferred with each of the Sale Process Parties and prepared a proposed
              form of order setting forth budgeting procedures pursuant to the Court’s September
              8, 2021 Memorandum Order [D.I. 337] (the “September Order”), which proposed
              order was filed with the Court on September 29, 2021 [D.I. 370] (the “Proposed
              Budget Procedures Order”) and included a proposed initial budget as Exhibit A
              thereto (the “Proposed Initial Budget”).

                 o The numerus steps that I took pursuant to the September Order in
                   connection with preparing the Proposed Budget Procedures Order are
                   detailed more fully in the cover letter I filed in connection therewith
                   [D.I. 370].

             Reviewed and analyzed statements, requests, and related documentation provided
              by the Sale Process Parties regarding the outstanding judgments of Crystallex and
              ConocoPhillips.
Case 1:17-mc-00151-LPS Document 381 Filed 10/19/21 Page 4 of 4 PageID #: 10217

The Honorable Leonard P. Stark
October 12, 2021      Public version dated: October 19, 2021
Page 3 of 3

             Responded orally and in writing to questions, inquiries and requests for clarification
              from the Sale Process Parties on a number of topics and issues related to the
              proposed sale process.

Statement of Fees and Expenses

        Finally, the May 27 Order requires that I submit an Itemized Statement of my fees and
expenses on a monthly basis. During the period September 1 through September 30, 2021, I have
incurred an aggregate of              of fees and expenses in connection with carrying out my
duties as Special Master. This amount includes the monthly fees and expenses of counsel in
connection with the matters contemplated by the May 27 Order. The Itemized Statement, attached
as Annex E hereto, contains a breakdown of such fees and expenses among my Advisors and
myself.

       I respectfully request that Your Honor determine that such fees and expenses are regular
and reasonable. A proposed form of order is enclosed for Your Honor’s consideration.

       I am available at the convenience of the Court, should Your Honor have any questions.

                                                            Respectfully Yours,

                                                            /s/ Robert B. Pincus

                                                            Robert B. Pincus, in my capacity as
                                                            Special Master for the United States
                                                            District Court for the District of
                                                            Delaware

Enclosures
cc: All Counsel of Record (via CM/ECF and E-Mail)
